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§ : 2 E . . . l .
UNITED STATES DISTRICT COURT
SOUTHERN DI STR]CT OF GEORG|A
UNITED ATES
ST EXHIBIT AND WITNESS LIST
V.
RE_AL|TY LE!GH WINNER CaSe Numb€l’: 1217-CR~34
PR.ESIDING ]LmGE PLAINTIFF`S ATTORNEY DEFENDANT’S AT]_ORNEY
HON. BR|AN K. EPPS SOLARUAARON CHESTER ET AL.
TR]AL DATE (S) COURT REPORTER COURTROOM DEPUTY
FEBRUARY 27, 2018 L[SA DAVENPORT LlSA WlDENER
PLF' DEF' DATE MARKED ADMnTED DESCRIPHON oF EleBl'rs' AND erNFsSES

NO. NO. OFFERED

 

1 RECORD|NG OF DEFENDANT“S lNTERV|EW WITH FB| (REDACTED TO UNCLASS)'FOUO)

 

 

2 TRANSCR|PT OF EXHIB|T1 (REDACTED TO UNCLASSIFOUO)

 

PHOTOGRAF'HS TAKEN DUR|NG SEARCH ON 5-3-2017

 

SKETCH OF DEFENDANT'S RESIDENCE ON 6~3*2017

 

RECORDED PHONE CALLS OF DEFENDANT FROM L|NCOLN COUNTY JA|L

 

10.62.0.21-70872fb0033&0015751f26534b308591 bookingan

5 .1 qu

 

10.66.0.21-752305840342001526a446544f5f9f?7 winner3.wav

5.2 M€'

 

10.62.0.21-758bb743033e0015751f2653751766f1 Winner4.wav

5.3 W

 

 

 

6 TRANSCR|PTS OF EXH|B[T 6
l
6.1 Panial Transcript 10.62.0.21-7{}872fb0033e0015751i265a4b30a591 booking
| \
6.1.1 Fu|| Transcrl'pt 10.62.0.21-70872&)003360015751f26554ba03591 booking

 

Pania| Transcript 10.66.0.21-7523[:584034200152ea446544f5f9t77 winner3

 

6.2 nw
6.2.1 M

Fu|l Transcript 10.66.0.21-75230584034200152ea446544f5f9f77 winner3

 

Pania| Transcript 10.62.0.21~758bb74303390015751f2653?517e6f1 winner4

6.3 W€

 

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6.3.1 Fu|| Transcript 10.62.0.21-758bb743033e0015751126537517&6f1 winner4
7 ' RECORDED PHONE CALLS OF DEFENDANT FROM LlNCOLN COUNT¥ JA|L
7.1 10.62.0.21-?€<:9158603390015751f2653d55c7c:cdwfnner8.wav `
7.2 10.68.0.21-70£>13ba50344001539346bccabdf4dbf winner.wav
B TRANSCR|PTS OF EXHIB|T 7
8.1 Transcript Phone Ca|| 10.62.0.21-72€91586033€0015751f2653d55c7ccdwinner8.wav
8.2 Transcript Phone Ca|| 10.65.0.21-70b13b35{)a44001539346bccabdf4dbf winner

 

 

 

 

 

 

 

 

 

* lnc]udc a notation as to the location ofany exhibit not held with lhc case Ele or unavailable because ofsize.

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